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                               UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.
                                                        Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

         Defendants.



                       PLAINTIFFS’ PROPOSED VOIR DIRE QUESTIONS

            Plaintiffs respectfully submit the following Proposed Voir Dire Questions pursuant to

     Local Civil Rule 51:


        1. Please describe the highest level of education you were able to complete. If college or
           higher, please describe your major.

        2. What is your current employment status?

        3. What is your current or, if you are disabled, unemployed, or a stay-at-home-parent, what
           was your most recent job?

        4. Have you ever been involved in a lawsuit? If so, please explain the case and how you felt
           about the result.

        5. Have you ever served as a juror?

                a. If so, please explain how many times, whether you were a juror on civil or
                   criminal jury or a grand jury.

                b. If so, were you ever a foreperson?

        6. Do you have children?

                a. If so, what are their ages and please describe what they currently do.

        7. Do you have any negative opinions about large record labels or music publishers for any
           reason? Privately - If so, please explain.
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    8. Do you have any negative opinions about ISPs for any reason? Privately - If so, please
       explain.

    9. Have you or anyone close to you ever worked for Cox Communications, Inc. or any
       related company? If so, who, in what capacity, and when?

    10. Have you ever worked directly or indirectly for a technology or software company,
        including an ISP? If so, please explain.

    11. Do you have any investments of any kind that you think could be negatively affected by
        the outcome of this case? If so, please explain.

    12. Do you believe there is anything wrong with record companies or music publishers
        prohibiting individuals from sharing music on the Internet? Privately - If so, explain.

    13. Please raise your hand if you feel that people should not have to pay to download or share
        music or videos from the internet. If so, please explain.

    14. Do you listen to music? If so:

           a. How do you usually get the music you like to hear?

           b. Do you rarely or never pay for music or other media from the internet. Privately -
              Explain.

           c. Which devices do you usually use to listen to music, if any?

    15. Have you ever heard or read about lawsuits in which the recording industry has sued
        people for illegally downloading and distributing music? If yes,

           a. Do you know anyone who was sued or threatened to be sued?

           b. Do you have a generally negative opinion about that? If so, please explain why.

    16. Are you even a little bit concerned or unsure that the outcome of this lawsuit could
        negatively impact you in any way. Privately - please explain.

    17. Without providing any details, do you have any concern whatsoever that you or anyone
        close to you might ever be blamed for downloading or sharing music or videos from the
        internet?

    18. Have you ever used a peer to peer network?

           a. Privately – For what?

    19. Have you ever used BitTorrent, Gnutella, Ares or eDonkey?

           a. Privately – For what?


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    20. Have you ever used Napster, Grokster, Kazaa or Limewire?

           a. Privately - For what?

    21. Have you heard of or visited the following websites ThePirateBay, KickassTorrents,
        Torrentz, Torrentz2, RARBG, PublicBT, Extratorrent, or any other BitTorrent website?

    22. Are you a member, contributor or support of the Electronic Frontier Foundation, often
        referred to as the EFF?

    23. Have you ever read or visited Ars Technica or TorrentFreak?

    24. Have you or anyone in your family ever been accused of infringing anything or received
        an infringement notice?

    25. Have you ever had your internet service cut off for any reason other than not paying the
        bill? Privately - Why?

    26. Do you use social media multiple times per day?

    27. Have you ever had a blog? If so, please describe it.

    28. In this case, the plaintiffs are suing Cox, the internet service provider, for infringement.
        Please raise your hand if you think it is at all unfair to hold an internet service provider
        responsible when it has been told about copyright infringement on its network, but fails
        to stop it?

    29. Do you believe that money compensation is not the best way to resolve disputes between
        companies? Explain.

    30. Do you support laws that would put a cap, or limit, on money damages in lawsuits? If so,
        please explain.

    31. Is there any reason you could not award a large amount of damages to a Plaintiff if they
        prove their case? If so, please explain.

    32. From watching movies, TV or real criminal cases, you may have heard of a much higher
        burden of proof required to win, called “beyond a reasonable doubt.” In this case, [I/The
        judge] will instruct you on the law that applies here and that the burden in this case,
        called the preponderance of the evidence, is much lower. That will apply to the plaintiffs’
        claims and what are called the defendants’ affirmative defenses. I will explain that more
        during the trial. Please raise your hand if you would not be comfortable and you would
        expect more in order to reach a verdict. Explain.

    33. If your personal feelings are different than the law, is there any reason you would have
        even a little doubt that you could ignore your feelings and follow the law 100%?




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 Respectfully submitted,

 Dated November 25, 2019                    /s/ Scott A. Zebrak
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